 

cect

Case 13-10741-PJW Doc1014 Filed 08/30/13 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x

Chapter 11
In re

Case No. 13-10741 (PJW)
ROTECH HEALTHCARE INC., et al.,

' Jointly Administered
Debtors.
Re: Docket No. Sas
x

 

ORDER EXTENDING EXCLUSIVE PERIODS
PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE

Upon consideration of the motion (the “Motion”)’ of the above-captioned debtors

 

and debtors in possession (collectively, the “Debtors”), for entry of an order, pursuant to section
1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 9006 the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9006-2 of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”), extending the Debtors’ exclusive periods to file a chapter 11 plan
or plans and to solicit acceptances of such plan(s); and it appearing that no other or further notice
need be provided; and it appearing that the relief requested in the Motion is in the best interests
of the Debtors and their respective estates and creditors; and after due deliberation and sufficient
cause appearing therefor, it is hereby:

ORDERED that the Motion is GRANTED; and it is further

ORDERED that the Exclusive Filing Period shall be extended through and

including December 4, 2013; and it is further

 

' The Debtors in these chapter 11 cases are listed in Schedule _1 to the Motion and at http://dm.epiqi 1.com/rotech.
The address of the corporate headquarters of the Debtors and the mailing address of each of the Debtors is 2600
Technology Drive, Suite 300, Orlando, FL 32804.

2 Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in the Motion.

01:13888796.4
 

Case 13-10741-PJW Doc1014 Filed 08/30/13 Page 2 of 2

ORDERED that the Exclusive Solicitation Period shall be extended through and
including February 2, 2014; and it is further

ORDERED that entry of this Order shall be without prejudice to the rights of the
Debtors to request further extensions of the Exclusive Periods or to seek other appropriate relief;
and it is further

ORDERED that this Court shall retain jurisdiction with respect to all matters
arising from or related to this Order.

Dated: Wilmington, Belaware

- 3 2013

Peter J. Walsh
United States Bankruptcy Judge

01:13888796.4
